     Case 1:00-cr-00432-RDB   Document 317   Filed 07/30/12   Page 1 of 5



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA            *

               vs.                  *   CRIMINAL NO. 00-0432

ERIC BENNETT                        *

DATE OF PREVIOUS JUDGMENT:          *   Paresh S. Patel, Esquire
  05/02/2008                            DEFENDANT’S ATTORNEY
*       *       *       *           *        *       *       *              *

            MEMORANDUM AND ORDER RE: SENTENCE REDUCTION
                 PURSUANT TO 18 U.S.C. § 3582(C)(2)

     The Court has before it the Crack Motion for Reduced Sentence

Under 18 U.S.C. § 3582(c)(2) [Document 314] filed by Defendant Eric

Bennett based on a Guideline sentencing range that has subsequently

been lowered and made retroactive by the United States Sentencing

Commission pursuant to 28 U.S.C. § 994(u).

     Thus, the Court must determine, in effect, what would have been

the sentence imposed had the amendment been in effect at the time

of the initial sentencing.      Then, a second step is required.            As

stated by the Supreme Court in Dillon v. United States, 560 U.S. ___,

130 S. Ct. 2683, 2692 (2010), "At step two of the inquiry, § 3582(c)(2)

instructs a court to consider any applicable § 3553(a) factors and

determine whether, in its discretion, the reduction authorized by

reference to the policies relevant at step one is warranted in whole

or part under the particular circumstances of the case."
     Case 1:00-cr-00432-RDB   Document 317   Filed 07/30/12   Page 2 of 5



     The Government agrees that Defendant Bennett is eligible for

a sentence reduction but contends that the Court should not exercise

its discretion to reduce the sentence.

     Defendant Bennett's original sentence was determined - prior

to departure and variance – based on Offense Level 36, Criminal

History III.   The Court departed downward by one Criminal History

category, due to an "overstatement" finding.          Thus, the Guideline

range was, for Offense Level 36 and Criminal History Category II,

210 to 262 months.     The Court started with the low end of the

Guideline range (210 months) and varied for two reasons.             First,

Defendant Bennett had been incarcerated for the offense of conviction

for some eight years; consequently he lost approximately 12 months

of good time credit.    Second, the Court determined that an 18 month

variance was warranted by virtue of the extraordinary hardship

sustained during incarceration by virtue of the defendant's handicap

and his demonstrated efforts toward rehabilitation.

     If the present Guidelines had been in effect on the original

sentencing date, the Court would start with Offense Level 32,

Criminal History Category III.1      The Court finds no reason to find

that it would have, or even could have on any principled basis, viewed

Defendant Bennett's Criminal History Category any differently had


1
     The Court cannot find that it would depart upward from the
Guideline Offense Level.
                                2
    Case 1:00-cr-00432-RDB   Document 317   Filed 07/30/12   Page 3 of 5



the present Guidelines been in effect.       Hence, prior to variance,

the Guideline range would be the range for Offense Level 32, Criminal

History category II, i.e. 135 – 168 months.       There is no doubt that

the Court would have, as the undersigned Judge generally does in a

case in which there has been substantial presentencing

incarceration, provide the defendant with the lost good time credit.

     Accordingly, even if the Court were to use the high end of the

Guideline range, 168 months, and even if the Court had not given the

18 months additional variance, the resultant sentence would have been

156 months, a sentence that is 24 months less than the 180 month

sentence this Court originally imposed.        Defendant Bennett's

present release date is January 1, 2014, a date that is less than

24 months from the date of this Order.      Accordingly, step one of the

instant inquiry would result in a sentence of time served.

     The Government contends that, in step two of the instant

inquiry, the Court should decline to exercise its discretion to

provide Defendant Bennett with a sentence reduction.           Government

counsel notes that Defendant Bennett engaged in serious criminal

conduct and was sentenced by Judge Davis to life imprisonment plus

10 years, although the sentence was reversed by the United States

Court of Appeals for the Fourth Circuit.      United States v. Bradley,

455 F.3d 453 (4th Cir. 2006).



                                   3
    Case 1:00-cr-00432-RDB   Document 317   Filed 07/30/12   Page 4 of 5



     The Court cannot agree with the Government.        The Court cannot,

on any principled basis, effectively impose a 180 month sentence on

Defendant Bennett under the current Guideline version.            The Court

finds no justification for changing its Criminal History departure,

for eliminating its 12 month "loss of good time credit" variance or,

indeed, for now eliminating its 18 month "hardship and

rehabilitation" variance.     Consequently, to effectively re-impose

the original 180 month sentence as the Government contends, the Court

would have to effectively depart upward by two Offense Levels without

any principled justification and then apply the high end of the

resultant range (210 months) so as to end up with a 180 month post

variance sentence.

     The Court was, at the time of the original sentencing, fully

aware of the nature of Defendant Bennett's offenses and of the Life

plus ten year sentence imposed by Judge Davis.        It does not find it

appropriate to conclude that there is now - but was not at the time

of the original sentencing – a reason to impose a sentence upon

Defendant Bennett above that resulting from the applicable Guideline

range.   The Court, considering again the § 3553(a) factors,

concludes that it shall exercise its discretion to grant a sentence

reduction.   The Court will, however, conduct a hearing and consider

whether any modifications of Defendant Bennett's conditions of

supervised release are warranted.
                                   4
Case 1:00-cr-00432-RDB   Document 317   Filed 07/30/12   Page 5 of 5



Accordingly:

      1.    The Crack Motion for Reduced Sentence Under 18 U.S.C.
            § 3582(c)(2) [Document 314] filed by Defendant Eric
            Bennett is GRANTED.

      2.    The Defendant’s previously imposed sentence of
            imprisonment (as reflected in the last judgment
            issued) of 180 months is hereby reduced to time
            served.

      3.    All provisions of the last judgment issued herein
            remain in effect subject to possible modification of
            conditions of supervised release.

      4.    An Order Regarding Motion for Sentence Reduction
            Pursuant to 18 U.S.C. § 3582(c)(2) and an Order
            directing Defendant Bennett to appear for a hearing
            regarding conditions of supervised release shall be
            issued herewith.



SO ORDERED, on Monday July 30, 2012.



                                              /s/__________
                                        Marvin J. Garbis
                                   United States District Judge




                               5
